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                       Report of the
      Utah Legislative Compensation
               Commission




 Prepared for the 2018 General Session of the Utah State
                       Legislature
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             Governor’s Office of Management and Budget
             State Capitol Complex, Suite 150
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                    Legislative Compensation Commission
December 11, 2017



To the Utah State Legislature:

The Legislative Compensation Commission (“the Commission”) has completed its report for the
2018 General Session of the Utah State Legislature.

Utah law requires the Commission to “study and formulate recommendations concerning the salary
levels of Utah state legislators…[basing] the study and recommendations upon maintaining a citizen
Legislature in Utah, but compensating members fairly for their service in order that all individuals
have an opportunity to serve.” The law further requires the Commission to submit its
recommendations to each member of the Legislature “concerning changes, if any, which should be
made in the salary plan and its administration for state legislators,” by January 2nd of each even-
numbered year.

As in prior years, the Commission reviewed data from state and national sources, including surveys
of all 50 states’ legislative compensation levels.

We acknowledge that the legislature has implemented the Commission’s recommendations made two
years ago, namely providing daily rate compensation for up to ten authorized legislative training
days.

This year we recommend that the daily compensation rate increase from $273 to $285, an
amount that roughly corresponds to cost of living increases since the $273 rate was set in 2013.

We also recommend that the Legislature consider expanding the scope of “authorized legislative
days” in order to provide compensation for currently uncompensated work that legislators perform.

On behalf of the citizens and residents of this great state, we thank you for your service in the Senate
and House of Representatives.

Sincerely,




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The Utah Legislative Compensation Commission
         David L. Rail, Chair

         Diane B. Christensen

         James R. Gowans

         Kevin Cote’

         LaWanna Shurtliff

         Matthew G. Bell,

         Ronald K. Mortensen, Vice Chair




_____________________________________________________________________________

Staff:   Richie Wilcox, Governor’s Office of Management and Budget




         For a copy of the report contact:

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Introduction
Article VI, Section 9, of the Utah Constitution (see Appendix B) states that the Legislature may not
increase the salaries of its members on its own initiative, but shall provide by law for the appointment
by the governor of a citizens’ salary commission to make recommendations concerning the salaries of
members of the Legislature.

Utah Code Annotated (UCA) 36-2-3 provides that the salaries of members of the legislature are based
on recommendations of the Legislative Compensation Commission. UCA 36-2-4 outlines the
composition of the Commission. UCA 36-2-5 declares the duties of the Commission. (For reference,
each section is included in Appendix B of this report).


Legislative Compensation Commission

Pursuant to UCA 36-2-4, the Utah Legislative Compensation Commission is composed of seven
members appointed by the governor to serve four-year terms. Members represent a cross section of
workforce interests, major geographic areas of the state, and different political parties. Persons
employed in the legislative, judicial, and executive branches are not eligible for appointment.

Appointed commissioners are listed below:

                                                                                                  Term
 Name                   Occupation                         Residence            Political Party
                                                                                                  Expires




 David L. Rail          Insurance sales                           Provo         Republican        4/1/2019
 Diane B. Christensen   Exchange Coordinator, BYU Library         Provo         Republican        4/1/2021
 James R. Gowans        Rancher and former legislator             Tooele        Democrat          4/1/2019
 Kevin Cote’            Labor union business manager              West Jordan   Unaffiliated      4/1/2021
 Matthew G. Bell        County commissioner                       Ogden         Republican        4/1/2021
 Ronald Mortensen       Information technology consultant         Herriman      Republican        4/1/2019
 LaWanna Shurtliff      Retired teacher and former legislator     Ogden         Democrat          4/1/2021

By law, the Governor’s Office of Management and Budget staffs the commission.

Duties of the Legislative Compensation Commission

UCA 36-2-5 outlines the duties of the Commission which are to “study and formulate
recommendations concerning the salary levels of Utah state legislators…[basing] the study and



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recommendations upon maintaining a citizen Legislature in Utah, but compensating members fairly
for their service in order that all individuals have an opportunity to serve.” The law further requires
the Commission to submit its recommendations to each member of the Legislature “concerning
changes, if any, which should be made in the salary plan and its administration for state legislators,”
by January 2nd of each even-numbered year.

Salaries of Members Based on Recommendations

The required statutory language of UCA 36-2-3 is included in Appendix B of this report. Subsection
1 declares that legislator salaries are to be automatically set January 1 of the odd-numbered year
following the recommendations included in the report issued by January 2 of the preceding even-
numbered year. It also provides that salaries shall be set either on a daily or annual basis. Subsection
2 allows the legislature to reject or decrease the salary recommendation but not to increase it. If it
does neither, it “[has] by law accepted the Legislative Compensation Commission
recommendations.” Thus, unless rejected or decreased by the legislature, legislator salaries as
recommended in this year’s report will be effective January 1, 2019.



Legislator Compensation

Joint Rule (JR) 5-3-101 states: “A legislator shall receive daily compensation…for authorized
legislative days as defined in Section JR5-1-101.”1

Salary

Utah’s state legislators receive a daily salary of $273 per day for all authorized legislative days2,
which includes the 45-day general session, plus special session days, veto override session days,
interim days (designated by the Legislative Management Committee) or any other day that includes a
meeting of a committee, subcommittee, commission, task force, or other legislative meeting,
provided that the committee, subcommittee, commission, task force, or other entity is created by
statute or joint resolution, the legislator’s attendance at the meeting is approved by the Legislative
Management Committee, and service and payment for service by the legislator is not in violation of
the Utah Constitution, including Article V and Article VI, Sections 6 and 7. They also receive a daily
salary of $273 for up to 10 authorized legislative training days.

For the 45-day general session all legislators receive a lump sum payment of $12,285 ($273 x 45
days). This payment is made in January before the start of the legislative session. Other approved
attendance at legislative meetings is paid on an as-earned basis.


1
    http://le.utah.gov/xcode/TitleJR5/Chapter3/JR5-3-S101.html?v=JR5-3-S101_1800010118000101
2
    http://le.utah.gov/xcode/TitleJR5/Chapter1/JR5-1-S101.html?v=JR5-1-S101_2015031120150311



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Currently, authorized meetings do not include meetings with local constituents, attending local
government meetings, or preparatory work on policy issues and legislation outside of an official
meeting day. The Commission recommends that the Legislature consider including some of this work
in the definition of authorized legislative day.

The current salary model has been in effect since February 1, 2013.

Leadership Pay

Legislators serving in certain leadership positions receive additional pay annually for the additional
duties and responsibilities to the legislature or respective caucuses, as follows:

          President of the Senate and Speaker of the House of Representatives $5,000 each
          Majority and Minority Party Leaders                                 $4,000 each
          Majority and Minority Whips, Assistant Whips, Minority Caucus Leaders, and
          both chairpersons of the Executive Appropriations Committee         $3,000 each

Leadership pay was most recently increased effective January 1, 2015.

Per Diems and Expense Reimbursements

UCA 36-2-5(3) states “the commission may take into account the amounts received by legislators for
legislative expenses, but may not review the propriety of, or recommend amounts for, legislative
expenses.” Accordingly, this summary on expenses is for information only.

JR5-2-1013 through JR5-2-103 addresses reimbursement for lodging, meals, and transportation.
Legislators may claim reimbursements for actual lodging, meal expenses, and transportation costs
incurred by the legislator in association with the legislator’s official duties for an authorized
legislative day.

Reimbursements for expenses may not exceed the per diem rates published in administrative rules
governing the reimbursement of lodging, meal, or transportation expenses for state employees.
Minimum travel distance requirements (50 miles for lodging and 100 miles for meals) applicable to
state employees do not apply to legislators. Receipts are required.

Administrative Rule R25-7, Travel-Related Reimbursements for State Employees4, as in effect on
October 1, 2017, outlines state policy and procedure, and provides (in-state amounts):




3
    Retrieved from http://le.utah.gov/xcode/TitleJR5/Chapter2/JR5-2.html?v=JR5-2_1800010118000101
4
    Retrieved from http://www.rules.utah.gov/publicat/code/r025/r025-007.htm



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        •        Lodging - $70 per night with exceptions for specified cities (Salt Lake City
                 metropolitan area is $100 maximum)
        •        Meals - $42 per day ($10 - breakfast, $14 - lunch, $18 - dinner)
        •        Transportation – private vehicle reimbursement is $0.53 per mile if a state vehicle is
                 not available for use; parking expenses, and public and commercial transportation
                 costs are also permitted.

All expenses are subject to procedures established by the Legislative Expenses Oversight Committee
for each legislative body.

Communication Devices

JR5-5-101 allows for reimbursement the monthly plan costs for communication devices such as cell
phones. Currently legislators are given three options5:

        (1) a mobile phone and plan provided by the Legislature,
        (2) no mobile phone or plan, or
        (3) up to $79 per month expense reimbursement for a personal cell phone and plan.

Benefits

While the commission’s duties, as outlined in UCA 36-2-5, do not explicitly mention benefits, health
(including dental and vision) insurance, life insurance, and retirement plans have been made available
to legislators. It is helpful then to list these benefits for they do form a significant part of legislators’
compensation.




Retirement Benefits

Legislators are eligible for retirement benefits after four years of service. Since 2010, when the
legislature limited future liability for pensions by replacing the pension plan with a defined
contribution plan, legislators’ retirement benefits are based on two tiers:

       Tier 1, Utah Governors’ and Legislators’ Retirement Act6

    Legislators entering office before July 1, 2011 remain eligible for service credit under the pension
    program. Legislators are eligible for these retirement benefits: 1) if they have reached age 65 and
    have served four or more years or 2) have reached age 62 and have served ten or more years

5
 Utah Office of Legislative Research and General Counsel. Utah Legislator Compensation and Benefits. July 2015
6
 UCA 49-19, for a summary of the plan, see Utah Governors and Legislators Retirement Plan Highlights, effective July
1, 2015; pamphlet published by Utah Retirement Systems



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    (subject to actuarial reduction). The retirement benefit is equal to $10 per month, increased
    semiannually up to two percent based on the Consumer Price Index, for each year of service as a
    legislator. The amount as of July 1, 2015 is $29.20 per month. An additional $3.50 per month for
    each year of service, is payable to legislators who were members of this plan before March 1,
    2000.

       Tier 2, New Public Employees’ Tier II Contributory Retirement Act7

    Legislators entering office on or after July 1, 2011 may participate only in the Tier II Defined
    Contribution Plan. The state contributes ten percent of legislator’s eligible compensation to a
    401(k) defined contribution plan. The plan vests after four years of eligible service.

Utah Retirement Systems administers both programs.

Health and Dental Benefits

Legislators may participate in the same health, dental, and life insurance plans available to state
employees, which plans are administered by Public Employees Health Plan (PEHP). The state
provides traditional health and dental plans as well as HSA-eligible plans.

Costs for the traditional medical and dental plans are split as follows:

•       90 percent employer share of premium
•       10 percent employee share of premium

Vision coverage is available at 100 percent premium cost to an employee. For all these plans, a
legislator’s share is the same as an employee’s share.

Annual costs8 to the state (the 90 percent employer share of premium) for a legislator enrolled in a
traditional medical plan and a traditional dental plan are as follows:
                 Coverage            Medical      Dental     Total

                 Single              $ 5,974      $ 318      $ 6,292

                 Double              $12,318      $ 590      $12,908

                 Family              $16,444      $1,074     $17,518

Also available are Health Savings Account (HSA) plans such as STAR and Utah Basic Plus where
only the employer contributes and preferred versions of all plans where the employee portion varies
and generally costs more.
7
  UCA 49-22, for a summary of the plan see Utah Retirement Systems Tier 2 Defined Contribution Plan Highlights,
effective July 1, 2015; pamphlet published by Utah Retirement Systems.
8
  Utah Public Employees Health Program, 2017-2018 Benefits Summary, retrieved from www.pehp.org.



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In addition, the State pays the full premium for basic life insurance coverage of $25,000 for each
active legislator who enrolls in the program. As with state employees, the coverage terminates when
the legislator is no longer employed by the state.

Post Retirement Paid-up Health Coverage Benefits9

The state will pay the percentage of the cost of providing paid-up group health coverage for those
legislators (and governors) and their surviving spouses, who retire after January 1, 1998, are at least
62 but not yet 65 years of age, and are active members at the time of retirement or have continued
coverage with the program until eligible for this benefit. This does not apply to members who began
service on or after January 1, 2012.

The state will pay the percentage of the cost of providing Medicare supplemental coverage for life for
those legislators (and governors) and their surviving spouses, who retire after January 1, 1998 and are
at least 65 years of age. This benefit applies only to those members who began service before July 1,
2013.

The portion of the premium that the state pays for health insurance or Medicare supplemental
coverage is determined by the number of years a legislator has served:
       •       100 percent for 10 years of service credit
       •       80 percent for 8 years of service credit
       •       60 percent for 6 years of service credit
       •       40 percent for 4 years of service credit



Analysis of Data
[All tables hereinafter referenced are found in Appendix A.]


Surveys

The annual salary and expenditure survey from the National Conference of State Legislatures
(NCSL) gives a description of the salary and per diem expenses or allowances of each of the 50 state
legislatures. State legislatures generally compensate their members in one of three ways:

          (1)      an annual salary,
          (2)      a daily rate paid for calendar days during the session, or
          (3)      a daily rate paid for actual legislative days worked.


9
    Retrieved from http://le.utah.gov/xcode/Title49/Chapter20/49-20-S404.html?v=C49-20-S404_1800010118000101



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NCSL also offers information on leadership pay, retirement, health insurance and other benefits.
The Commission reviewed and considered this information.

Standardization

In order to compare the annual salary, daily salary, and hourly wages of the 49 other state legislatures
to Utah’s it is necessary to convert each state’s salary into an hourly wage. Annual salaries can be
converted into daily amounts by dividing by the number of session days. Weekly salaries paid for
legislative days worked can be approximately converted to calendar days by dividing by five. Hourly
wages paid for legislative work days can be converted by taking the daily rate and dividing by a
standard eight hour work day. Furthermore, hourly wages can be converted to hourly wages to
include urban and rural per diem rates by taking the daily urban and rural per diem rates and dividing
by a standard eight hour work day.

For the purposes of this study, urban areas are generally those areas within 50 miles of the Capitol
and rural areas are those areas more than 50 miles from the Capitol. Some states pay different
allowances or per diems depending on where a legislator lives. In Utah, where the legislature made
changes to per diems as recommended in the Second Revised Supplemental Report of the Utah
Legislative Compensation Commission Prepared for the 2012 General Session of the Utah State
Legislature, the urban and rural rates are generally the same. However, for some comparisons we
added the lodging expense in calculating the rural rate.


Trends/Overview

Hourly Wages

Utah legislator compensation, when considered as a daily wage ranks 14th highest in the nation (see
Table 2), equating to an hourly wage of $34.13. Hawaii ranks number one at $72.38 an hour and New
Mexico, which does not pay any legislative salary, ranks last. The average hourly wage for all state
legislatures is $28.20, while the median is $24.27.

Hourly Wages plus Per Diems

When adding in urban per diems to hourly wages, Utah ranks 21st in the nation (see Table 6). (Urban
per diems don’t include lodging expenses). Utah’s hourly wage plus urban per diem (expense
reimbursement) is $39.13. Alaska ranks first at $87.63 and New Hampshire ranks last. The average
hourly wage for all states including urban per diem rates is $40.93, while the median is $35.75.

When referencing rural per diems, Utah ranks 14th at $51.63 with Alaska first at $95.41 and New
Hampshire last. The average hourly wage for all state legislatures plus rural per diem rates is $42.87,
while the median is $37.37.



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Daily and Annual Salary

Using daily salaries to compare Utah ($273) to all other states shows that Utah ranks 14th in the
nation for legislative pay (see Table 2) and is one of eight states that has a daily salary rate.

Comparing annual salaries, Utah legislators’ $12,285 (when counting the legislative session only)
puts Utah’s legislator salaries at 40th (as it was two years ago) in the nation (see Table 2).

Western States Comparison

The comparison of Utah legislators’ hourly wages to that of the ten other western states (see Table 7)
shows that six states (Arizona, California, Colorado, Idaho, Oregon, and Washington) pay an annual
salary, four states (Montana, Nevada, Utah, and Wyoming pay a daily salary, and one state (New
Mexico) pays no salary. Utah is ranked 3rd out of the 11 states when considering both hourly wage
plus urban per diem and hourly wage plus rural per diem (see Table 7).

Traditional and Slightly Less Traditional Citizen Legislatures

Table 8 compares rates for Utah’s traditional citizen legislature with other states with traditional
citizen legislatures (Montana, New Hampshire, North Dakota, South Dakota, and Wyoming) and
states with slightly less traditional citizen legislatures (Georgia, Idaho, Indiana, Kansas, Maine,
Mississippi, Nevada, New Mexico, Rhode Island, Vermont, and West Virginia).

In comparing the traditional citizen legislatures’ compensation as an hourly wage, as well as hourly
wage plus per diem, Utah ranks first. Of all 17 legislatures grouped as traditional or slightly less
traditional citizen legislatures, only one state (West Virginia) has a higher hourly wage for legislators
and only three (Indiana, Georgia, and West Virginia) have higher combined rates (hourly wage plus
per diem).



Recommendations

In accordance with UCA 36-2-5, the Commission met during the autumn of 2017 to “study and
formulate recommendations concerning the salary levels of Utah state legislators.” Minutes from
these meetings are available from Commission staff or by searching the Utah Public Notice Website
(http://www.utah.gov/pmn) for meetings of the Legislative Compensation Commission.




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Legislative Salaries

The Commission reviewed data (see Appendix A) obtained from the National Conference of State
Legislatures, Utah Office of Legislative Research and General Counsel, Governor’s Office of
Management and Budget, and other sources.

We noted that legislative salaries have not increased since 2013. Because the current salary rate goes
through 2018, in 2019 legislators will not have seen a salary increase in six years. State government
employees, however, have seen compensation increases every year during this time period. The
Commission recommends an increase to the daily rate for legislators of $12 a day, from $273
to $285. This is a 4.4% increase, which roughly corresponds to increases in the consumer price
index since 2013. It should be noted that from FY14-FY18, annual compensation increases have
increased state-employee salaries by 8.8%.


Authorized Legislative Days

Authorized legislative days include general session days, special session days, veto override session
days, interim session days, authorized legislative training days, or any other day that includes a
meeting of a committee, subcommittee, commission, task force, or other legislative meeting,
provided that the committee, subcommittee, commission, task force, or other entity is created by
statute or joint resolution; the legislator’s attendance at the meeting is approved by the Legislative
Management Committee; and service and payment for service by the legislator is not in violation of
the Utah Constitution, including Article V and Article VI, Sections 6 and 7.

However, through discussions with legislators, the Commission has learned that legislators attend
many meetings and perform many tasks in their capacity as legislators that don’t fall under the
definition of authorized legislative days. Examples include working with organizations, other
legislators, and bill drafters on legislation, as well as attending county commission, city council, or
other formal meetings in order to determine the needs and issues of their constituents. This is a
particular burden on rural legislators, who sometimes travel long distances to attend these meetings.
This means that a good deal of legislative work goes uncompensated. The Commission therefore
recommends that the Legislature consider expanding the definition of authorized legislative days so
that legislators are spending less time working on legislative issues without compensation.


Leadership Pay

As noted previously in this report, leadership pay was increased per the Commission’s 2014
recommendation. The Commission recommends no changes to leadership pay.




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Summary of Recommendations

Based on our review and analysis of the data contained in this report, the Legislative Compensation
Commission RECOMMENDS:

      The daily rate for legislators increase from $273 per day to $285 per day.
      The Legislature consider expanding the definition of authorized legislative days so that
       legislators get paid for work that currently goes uncompensated.
      Annual leadership pay remain at $5,000 each for the President of the Senate and
       Speaker of the House, $4,000 each for the Majority and Minority Leaders, $3,000 each
       for the Majority and Minority Whips, Assistant Whips, both Executive Appropriations
       Chairs, and the Minority Caucus Leaders.




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                           Appendix A




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Table 6: State Legislator Salaries and Per Diem Rates - All States, 2017




                                                                                                                                                                      Hourly                                Hourly
                                                                                                                                                                     Wage +                                Wage +
                                                                                                                                                         Hourly Wage  Urban     Total Daily    Hourly Wage  Rural
                                                                                                   Session                     Daily      Daily Salary +   + Hourly  Area Per    Salary +        + Hourly  Area Per
                                                                                Rural Area Per     Days (C)        Daily       Salary      Urban Per      Urban Per    Diem     Rural Area      Rural Area   Diem
                                                                                                                           1
           State           Annual Salary   Daily Salary    Urban Per Diem           Diem            2011          Salary       Rank           Diem           Diem     Rank       Per Diem        Per Diem   Rank
                             (Table 2)      (Table 2)          (Table 5)            (Table 5)      (Table 2)      (Table 2)
Alabama                       $44,765         $0.00       $      -      $0.00   $      -              93             $481.34          4        $481.34         $60.17      11       $481.34         $60.17       11
Alaska                        $50,400         $0.00       $ 186.75              $ 249.00              98             $514.29          3        $701.04         $87.63      1        $763.29         $95.41       1
Arizona                       $24,000         $0.00       $    35.00 (V)        $    60.00 (V)       122             $196.72         25        $231.72         $28.97      35       $256.72         $32.09       32
Arkansas                      $39,400         $0.00       $ 150.00 (V)          $ 150.00 (V)         112             $351.79         11        $501.79         $62.72      10       $501.79         $62.72       10
California                   $104,118         $0.00       $ 176.00              $ 176.00             284             $366.61          9        $542.61         $67.83      7        $542.61         $67.83       7
Colorado                      $30,000         $0.00       $    45.00 (V)        $    99.00 (V)       119             $252.10         16        $297.10         $37.14      23       $351.10         $43.89       21
Connecticut                   $28,000         $0.00       $      -              $      -             154             $181.82         29        $181.82         $22.73      43       $181.82         $22.73       44
Delaware                      $45,291         $0.00       $      -              $      -             172             $263.32         15        $263.32         $32.91      28       $263.32         $32.91       30
Florida                       $29,697         $0.00       $ 152.00 (V)          $ 152.00 (V)          62             $478.98          5        $630.98         $78.87      3        $630.98         $78.87       4
Georgia                       $17,342         $0.00       $ 173.00 (U)          $ 173.00 (U)          80             $216.78         23        $389.78         $48.72      17       $389.78         $48.72       18
Hawaii                        $61,380         $0.00       $    10.00            $ 175.00             106             $579.06          1        $589.06         $73.63      4        $754.06         $94.26       2
Idaho                         $17,017         $0.00       $    49.00 (V)        $ 129.00 (V)          79             $215.41         24        $264.41         $33.05      27       $344.41         $43.05       22
Illinois                      $67,836         $0.00       $ 111.00              $ 111.00             354             $191.63         26        $302.63         $37.83      22       $302.63         $37.83       25
Indiana                       $25,436         $0.00       $ 161.00 (U)          $ 161.00 (U)         117             $217.40         22        $378.40         $47.30      18       $378.40         $47.30       20
Iowa                          $25,000         $0.00       $ 120.00 (U)          $ 160.00 (U)         110             $227.27         19        $347.27         $43.41      19       $387.27         $48.41       19
Kansas                            $0         $88.66 (C)   $ 140.00 (U)          $ 140.00 (U)         169              $88.66         42        $228.66         $28.58      37       $228.66         $28.58       38
Kentucky                          $0        $188.22       $ 154.00 (U)          $ 154.00 (U)          87             $188.22         28        $342.22         $42.78      20       $342.22         $42.78       23
Louisiana                     $22,800         $0.00       $ 150.00 (U)          $ 150.00 (U)          60             $380.00          8        $530.00         $66.25      8        $530.00         $66.25       8
Maine                         $12,215         $0.00       $    70.00            $    70.00           209              $58.44         47        $128.44         $16.06      48       $128.44         $16.06       48
Maryland                      $47,769         $0.00       $ 146.00 (V)          $ 146.00 (V)          90             $530.77          2        $676.77         $84.60      2        $676.77         $84.60       3
Massachusetts                 $62,548         $0.00       $    10.00 (V)        $ 100.00 (V)         362             $172.78         31        $182.78         $22.85      42       $272.78         $34.10       29
Michigan                      $82,485         $0.00       $      -     (V)      $      -     (V)     355             $232.35         18        $232.35         $29.04      34       $232.35         $29.04       37
Minnesota                     $31,141         $0.00       $    66.00    $0.00   $    86.00           139             $224.04         20        $290.04         $36.25      25       $310.04         $38.75       24
Mississippi                   $10,000         $0.00       $ 140.00 (U)          $ 140.00 (U)          89             $112.36         40        $252.36         $31.54      31       $252.36         $31.54       34
Missouri                      $35,915         $0.00       $ 112.00 (U)          $ 112.00 (U)         128             $280.59         13        $392.59         $49.07      16       $392.59         $49.07       17
Montana                           $0         $90.64 (L)   $ 112.85 (U)          $ 112.85 (U)          81              $90.64         41        $203.49         $25.44      41       $203.49         $25.44       43
Nebraska                      $12,000         $0.00       $    51.00 (V)        $ 140.00 (V)         139              $86.33         43        $137.33         $17.17      47       $226.33         $28.29       39
Nevada                            $0        $142.00 (C)   $ 140.00 (U)          $ 140.00 (U)         119             $142.00         35        $282.00         $35.25      26       $282.00         $35.25       27
New Hampshire                   $100          $0.00       $      -              $      -             169               $0.59         49          $0.59             $0.07   50          $0.59         $0.07       50
New Jersey                    $49,000         $0.00       $      -              $      -             355             $138.03         38        $138.03         $17.25      46       $138.03         $17.25       47
New Mexico                        $0          $0.00       $ 163.00 (V)          $ 163.00 (V)          60               $0.00         50        $163.00         $20.38      45       $163.00         $20.38       46
New York                      $79,500         $0.00       $ 174.00 (V)          $ 174.00 (V)         361             $220.22         21        $394.22         $49.28      14       $394.22         $49.28       15
North Carolina                $20,659         $0.00       $ 104.00 (U)          $ 104.00 (U)         170             $121.52         39        $225.52         $28.19      39       $225.52         $28.19       41
North Dakota                      $0        $177.00 (C)   $    56.06    $0.00   $    56.06           114             $177.00         30        $233.06         $29.13      33       $233.06         $29.13       36
Ohio                          $60,584         $0.00       $      -              $      -             363             $166.90         32        $166.90         $20.86      44       $166.90         $20.86       45
Oklahoma                      $38,400         $0.00       $ 157.00 (U)          $ 157.00 (U)         109             $352.29         10        $509.29         $63.66      9        $509.29         $63.66       9
Oregon                        $24,216         $0.00       $ 140.00 (U)          $ 140.00 (U)         156             $155.23         33        $295.23         $36.90      24       $295.23         $36.90       26
Pennsylvania                  $86,479         $0.00       $ 175.00              $ 175.00             362             $238.89         17        $413.89         $51.74      13       $413.89         $51.74       14
Rhode Island                  $15,430         $0.00       $      -              $      -             181              $85.25         45         $85.25         $10.66      49        $85.25         $10.66       49
South Carolina                $10,400         $0.00       $ 140.00              $ 140.00             121              $85.95         44        $225.95         $28.24      38       $225.95         $28.24       40
South Dakota                   $6,000         $0.00       $ 140.00 (U)          $ 140.00 (U)          76              $78.95         46        $218.95         $27.37      40       $218.95         $27.37       42
Tennessee                     $22,667         $0.00       $ 204.00 (U)          $ 204.00 (U)         120             $188.89         27        $392.89         $49.11      15       $392.89         $49.11       16
Texas                          $7,200         $0.00       $ 190.00 (U)          $ 190.00 (U)         139              $51.80         48        $241.80         $30.22      32       $241.80         $30.22       35
Utah                              $0        $273.00 (C)   $    42.00 (V)        $ 142.00 (V)          45             $273.00         14        $315.00         $39.38      21       $415.00         $51.88       13
Vermont                           $0        $141.47 (C)   $ 115.00              $ 115.00             134             $141.47         36        $256.47         $32.06      30       $256.47         $32.06       33
Virginia                      $17,743         $0.00       $ 185.00 (U)          $ 185.00 (U)          45             $394.29          7        $579.29         $72.41      6        $579.29         $72.41       6
Washington                    $47,776         $0.00       $ 120.00              $ 120.00             104             $459.38          6        $579.38         $72.42      5        $579.38         $72.42       5
West Virginia                 $20,000         $0.00       $ 131.00 (U)          $ 131.00 (U)          59             $338.98         12        $469.98         $58.75      12       $469.98         $58.75       12
Wisconsin                     $50,950         $0.00       $    88.00    $0.00   $ 138.00 ###         362             $140.75         37        $228.75         $28.59      36       $278.75         $34.84       28
Wyoming                           $0        $150.00 (L)   $ 109.00 (V)          $ 109.00 (V)          36             $150.00         34        $259.00         $32.38      29       $259.00         $32.38       31


              Quartile 1                                                                                                                                       $28.33                               $28.70
               Median                                                                                                                                          $35.75                               $37.37
              Average                                                                                                                                          $40.94                               $42.87
              Quartile 3                                                                                                                                       $51.12                               $51.84
              Maximum                                                                                                                                          $87.63                               $95.41

1
    Calculations based on eight hours per day.


Source: National Conference of State Legislatures, 2017 Legislator Compensation and Living Expense Allowances During Session, 2017 Legislative Sessions Calendar




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Table 7: Legislator Compensation - Western States, 2017

                                                                                                           Hourly      Hourly    Hourly    Hourly
                                                                                                           Wage +      Wage +    Wage +    Wage +
                                                                           Hourly          Hourly          Hourly      Hourly    Hourly    Hourly
                                                                           Wage +          Wage +         Urban Per   Rural Per Urban Per Rural Per
                                                                           Hourly          Hourly           Diem        Diem      Diem      Diem
                           Annual             Daily           Hourly      Urban Per       Rural Per        National    National  Western Western
                                                                      1
    State                  Salary            Salary            Wage         Diem            Diem            Rank        Rank      Rank      Rank
                          (Table 2)         (Table 2)         (Table 2)   (Table 6)       (Table 6)
Arizona                     $24,000                              $24.59      $28.97 (V)      $32.09 (V)      35          11         9         9
California                 $104,118                              $45.83      $67.83          $67.83           7          7          2         2
Colorado                    $30,000                              $31.51      $37.14 (V)      $43.89 (V)      23          21         4         4
Idaho                       $17,017                              $26.93      $33.05 (V)      $43.05 (V)      27          22         7         5
Montana                                          $90.64 (L)      $11.33      $25.44 (U)      $25.44 (U)      41          43        10        10
Nevada                                        $142.00 (C)        $17.75      $35.25 (U)      $35.25 (U)      26          27         6         7
New Mexico                                                        $0.00      $20.38 (V)      $20.38 (V)      45          46        11        11
Oregon                      $24,216                              $19.40      $36.90 (U)      $36.90 (U)      24          26         5         6
Utah                                          $273.00 (C)        $34.13      $39.38 (U)      $51.63 (U)      21          14         3         3
Washington                  $47,776                              $57.42      $72.42          $72.42           5          5          1         1
Wyoming                                       $150.00 (L)        $18.75      $32.38 (V)      $32.38 (V)      29          31         8         8

(L) = Legislative day; (C) = Calendar Day
(V) = Vouchered; (U) = Unvouchered

1
    Calculations based on eight hours per day.




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Table 8: Legislator Compensation - States with Citizen Legislatures, 2017

                                                                                                                            Hourly    Hourly
                                                                                                                            Wage +    Wage + Hourly Wage           Hourly Wage
                                                                         Hourly           Hourly                            Hourly    Hourly     + Hourly            + Hourly
                                                                         Wage +           Wage +               Hourly Wage Urban Per Rural Per  Urban Per            Rural Per
                                                                         Hourly           Hourly                  Citizen    Diem      Diem    Diem Citizen        Diem Citizen
                         Annual              Daily        Hourly        Urban Per        Rural Per              Legislature National National  Legislature          Legislature
                                                                  1
          State          Salary             Salary         Wage           Diem             Diem                    Rank      Rank      Rank        Rank                Rank


Traditional Citizen Legislatures
                       (Table 2)         (Table 2)        (Table 2)      (Table 6)       (Table 6)
Montana                                      $90.64 (L)      $11.33         $25.44 (U)       $25.44 (U)              11           41          43           13           13
New Hampshire                $100                             $0.07          $0.07            $0.07                  16           50          50           17           17
North Dakota                                $177.00 (C)      $22.13         $29.13 (V)       $29.13 (V)              6            33          36           10           10
South Dakota               $6,000                             $9.87         $27.37 (U)       $27.37 (U)              14           40          42           12           12
Utah                                        $273.00 (C)      $34.13         $39.38 (U)       $51.63 (U)              2            21          14            4           2
Wyoming                                     $150.00 (L)      $18.75         $32.38 (V)       $32.38 (V)              7            29          31            7           7


Slightly Less Traditional Citizen Legislatures


Georgia                   $17,342                            $27.10         $48.72 (U)       $48.72 (U)              4            17          18            2           3
Idaho                     $17,017                            $26.93         $33.05 (V)       $43.05 (V)              5            27          22            6           5
Indiana                   $25,436                            $27.18         $47.30 (U)       $47.30 (U)              3            18          20            3           4
Kansas                                       $88.66 (C)      $11.08         $28.58 (U)       $28.58 (U)              12           37          38           11           11
Maine                     $12,215                             $7.31         $16.06           $16.06                  15           48          48           15           15
Mississippi               $10,000                            $14.04         $31.54 (U)       $31.54 (U)              10           31          34            9           9
Nevada                                      $142.00 (C)      $17.75         $35.25 (U)       $35.25 (U)              8            26          27            5           6
New Mexico                                                    $0.00         $20.38 (V)       $20.38 (V)              17           45          46           14           14
Rhode Island              $15,430                            $10.66         $10.66           $10.66                  13           49          49           16           16
Vermont                                     $141.47 (C)      $17.68         $32.06           $32.06                  9            30          33            8           8
West Virginia             $20,000                            $42.37         $58.75 (U)       $58.75 (U)              1            12          12            1           1

(L) = Legislative day; (C) = Calendar Day
(V) = Vouchered; (U) = Unvouchered

1
    Calculations based on eight hours per day.


Source: National Conference of State Legislatures, 2017 Legislator Compensation and Living Expense Allowances During Session, 2017 Legislative Sessions Calendar




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Table 11: CPI Increases Since 2013

         Year       CPI
               2013 232.957
               2014 236.736
               2015 237.017
               2016 240.007
               2017 244.076
Cumulative Increase     4.77%




                                          32
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Table 12: Utah Legislative Compensation History


Year    Daily Rate       President      Leadership Pay      Leadership   Lodging   Meals &
                         and Speaker                        Pay          Expense   Incidental
                                                                         1, 2
                         Pay                                                       Expenses1
                                        Majority/Minority   Others3
                                        Leaders
1980    $25              $0             $0                               n/a       $15
1981    $25              $0             $0                               n/a       $15
1982    $25              $0             $0                               n/a       $25
1983    $65              $1,000         $500                             n/a       $25
1984    $65              $1,000         $500                             n/a       $25
1985    $65              $1,000         $500                             n/a       $25
1986    $65              $1,000         $500                             n/a       $25
1987    $65              $1,000         $500                             n/a       $25
1988    $65              $1,000         $500                             n/a       $25
1989    $65              $1,000         $500                             n/a       $25
1990    $65              $1,000         $500                             n/a       $25
1991    $65              $1,000         $500                             n/a       $25
1992    $65              $1,000         $500                             n/a       $25
1993    $85              $1,000         $500                             n/a       $35
1994    $85              $1,000         $500                             n/a       $35
1995    $85              $1,000         $500                             n/a       $35
1996    $85              $1,000         $500                             n/a       $35
1997    $100             $1,000         $500                             $68       $35
1998    $100             $1,000         $500                             $83       $38
1999    $100             $1,000         $500                             $76       $42
2000    $100             $1,000         $500                             $75       $42
2001    $120             $2,500         $1,500                           $75       $42
2002    $120/$1004       $2,500         $1,500                           $75       $42
2003    $120             $2,500         $1,500                           $75       $38
2004    $120             $2,500         $1,500                           $80       $39
2005    $120             $2,500         $1,500                           $79       $39
2006    $120             $2,500         $1,500                           $79       $39
2007    $130             $3,000         $2,000                           $78       $54
2008    $130             $3,000         $2,000                           $90       $54
2009    $130             $3,000         $2,000                           $116      $54
2010    $117             $3,000         $2,000                           $106      $61
2011    $117             $3,000         $2,000                           $95       $61
2012    $117             $3,000         $2,000                           $95       $61
2013    $273             $3,000         $2,000                           $95       $39
2014    $273             $5,000         $4,000              $3,000       $100      $40
2015    $273             $5,000         $4,000              $3,000       $100      $40




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2016      $273              $5,000          $4,000               $3,000   $100   $40
2017      $273              $5,000          $4,000               $3,000   $100   $42
2018      $273              $5,000          $4,000               $3,000   $100   $42

1
    Tied to Federal Rates
2
    Prior to 1997, lodging expenses were paid on a voucher system.




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                                                    APPENDIX B

UTAH CONSTITUTION

     Article VI, Section 9. Compensation of legislators -- Citizens' salary commission.10

     The Legislature shall not increase the salaries of its members on its own initiative, but shall
     provide by law for the appointment by the Governor of a citizens' salary commission to make
     recommendations concerning the salaries of members of the Legislature. Upon submission
     of the commission's recommendations, the Legislature shall by law accept, reject or lower
     the salary but may not, in any event, increase the recommendation. The Legislature shall
     provide by law for the expenses of its members. Until salaries and expenses enacted as
     authorized by this section become effective, members of the Legislature shall receive
     compensation of $25 per diem while actually in session, expenses of $15 per diem while
     actually in session, and mileage as provided by law.

UTAH CODE

36-2-3 Salaries of members set by Legislature and State Board of Education based on
recommendations of Legislative Compensation Commission.
(1)
  (a) Except as provided in Subsection (2) or (3), the salaries of members of the Legislature
  shall automatically be set beginning January 1 of each odd-numbered year at the amount
  recommended by the Legislative Compensation Commission in the last report issued by the
  commission in the preceding even-numbered year.
  (b) This salary recommendation shall be based on either:
     (i) a daily basis:
         (A) for each calendar day for annual general sessions; and
         (B) for each day a legislator attends veto-override and special sessions and other
         authorized legislative meetings; or
     (ii) an annualized salary.
  (c) In preparing its report, the commission may recommend salary amounts that:
     (i) take into account the amounts received by legislators for legislative expenses; and
     (ii) provide alternative salary amounts based upon the occurrence of various
     contingencies.
(2)
  (a) During an even-numbered annual general session or special session in the year
  immediately preceding the effective date of any salary change, the Legislature may reject or
  decrease the salary recommendation, but may not increase the salary recommendation.
  (b) If the Legislature does not act as provided in Subsection (2)(a), they have by law

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     Retrieved from http://le.utah.gov/xcode/ArticleVI/Article_VI,_Section_9.html.



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  accepted the Legislative Compensation Commission’s recommendations contained in the
  last report issued by the commission in the preceding even-numbered year.
(3) If the last report issued by the commission in an even-numbered year recommends a salary
contingent upon certain action being taken by the Legislature, that contingent legislative salary:
  (a) takes effect on the day after the day that the contingent action is taken by the
  Legislature; and
  (b) supersedes any other salary in effect as of January 1.
(4)
  (a) The salary for a member of the State Board of Education shall be:
      (i) the same as the salary for a member of the Legislature; and
      (ii) except as provided in Subsection (4)(b), set in accordance with this section and
      Subsection 36-2-2(1).
  (b) For purposes of setting the salary for a member of the State Board of Education:
      (i) a calendar day for the annual general session described in Subsection (1)(b)(i)(A) is
      interpreted as a calendar day of:
          (A) a meeting of the State Board of Education; and
          (B) any other meeting authorized by the State Board of Education; and
      (ii) unless the Legislative Compensation Commission issues a revised report on or after
      July 1, 2016, the salary for a member of the State Board of Education through calendar
      year 2016 is $273 per day for each calendar day that a member attends a meeting
      described in Subsection (4)(b)(i)(A) or (B).

36-2-4 Legislative Compensation Commission created -- Governor’s considerations in
appointments -- Organization and expenses.
(1) There is created a state Legislative Compensation Commission composed of seven
members appointed by the governor, not more than four of whom shall be from the same
political party.
(2)
   (a) Except as required by Subsection (2)(b), the members shall be appointed for four-year
   terms.
   (b) Notwithstanding the requirements of Subsection (2)(a), the governor shall, at the time of
   appointment or reappointment, adjust the length of terms to ensure that the terms of board
   members are staggered so that approximately half of the board is appointed every two
   years.
   (c) When a vacancy occurs in the membership for any reason, the replacement shall be
   appointed for the unexpired term in the same manner as the vacated member was chosen.
(3) In appointing members of the commission, the governor shall give consideration to
achieving representation from the major geographic areas of the state, and representation
from a broad cross section of occupational, professional, employee, and management
interests.
(4) The commission shall select a chair. Four members of the commission shall constitute a
quorum. The commission shall not make any final determination without the concurrence of a
majority of its members appointed and serving on the commission being present.
(5) A member may not receive compensation or benefits for the member’s service, but may
receive per diem and travel expenses in accordance with:
   (a) Section 63A-3-106;



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  (b) Section 63A-3-107; and
  (c) rules made by the Division of Finance pursuant to Sections 63A-3-106 and 63A-3-107.
(6)
  (a) The commission shall be a citizen commission and no member or employee of the
  legislative, judicial, or executive branch is eligible for appointment to the commission.
  (b) The executive director of the Governor’s Office of Management and Budget:
     (i) shall provide staff to the commission; and
     (ii) is responsible for administration, budgeting, procurement, and related management
     functions for the commission.


36-2-5 Duties of Legislative Compensation Commission.
(1) The Legislative Compensation Commission shall:
  (a) study and formulate recommendations concerning the salary levels for Utah state
  legislators;
  (b) base the study and recommendations upon maintaining a citizen Legislature in Utah, but
  compensating members fairly for their service in order that all individuals would have an
  opportunity to serve;
  (c) in developing recommendations, consider the salaries of other similar state legislators
  and other such factors; and
  (d) submit to each member of the Legislature, by January 2nd of each even-numbered year,
  recommendations:
     (i) concerning changes, if any, which should be made in the salary plan and its
     administration for state legislators; and
     (ii) include a recitation of the provisions of Section 36-2-3.
(2) The Legislative Compensation Commission may issue reports subsequent to January 2 of
an even-numbered year containing revised salary recommendations, including salary
recommendations contingent upon certain action being taken by the Legislature.
(3) As provided in Subsection 36-2-3(1)(c), in formulating its recommendations, the
commission may take into account the amounts received by legislators for legislative
expenses, but may not review the propriety of, or recommend amounts for, legislative
expenses.




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                              For a copy of the report contact:

                        Governor’s Office of Management and Budget
                             State Capitol Complex, Suite 150
                                 Salt Lake City, UT 84114
                                Telephone: (801) 538-1702




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